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 4   Attorney for Defendant Jimmy G.Y. Lee

 5                                                    )
                                                      )     CR No. 05-00395 CRB
 6   UNITED STATES OF AMERICA                         )
                                                      )
 7                  Plaintiffs,                       )
                                                      )   REQUEST, STIPULATION AND
 8           vs.                                      )   ORDER
                                                      )
 9   JIMMY GONG YANG LEE,                             )
                                                      )
10                  Defendant.                        )
                                                      )
11

12           This matter is currently on the Court’s calendar for July 26, 2006. Through counsel, defendant

13   Jimmy Gong Yang Lee and the United States ask the Court to (a) vacate the July 26, 2006 date based

14   on the defendant’s anticipated plea agreement, (b) set a date of August 23, 2006 for change-of plea,

15   and exclude time under the Speedy Trial Act, 18 U.S.C. § 3161 from July 26, 2006 to August 23,

16   2006.

17           1. The parties have been diligently working out the language of a plea agreement and request

18   that the court set the matter for August 23, 2006 for change-of-plea. It was anticipated that a plea

19   agreement would have been signed by July 26, 2006, however, there are a number of immigration

20   related legal questions which need to be resolved in order to proceed. Counsel for defendant has

21   retained the services of an immigration specialist to advise him and defendant in this regard. The

22   parties believe that all of these matters will be resolved by August 23, 2006.

23           2. The parties agree that the time between July 26, 2006 and August 23, 2006 should be

24   excluded from the Speedy Trial Act clock. Previously, this Court has declared this case complex,.

25   See 18 U.S.C. § 3161(h)(8)(B)(ii). Because of the need for defense counsel to obtain the assistance

26   of immigration counsel the parties agree that the continuance is necessary for the effective preparation

27   of defense counsel taking into consideration of due diligence. See 18 U.S.C. §3161(h)(8)(B)(iv). The

28   parties also agree that the ends of justice served by excluding the period from July 26, 2006 to August


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 1   23, 2006 outweigh the interest of the public and the defendant to a Speedy Trial. See id.

 2   3161(h)(8)(A).

 3

 4   STIPULATED:

 5

 6   DATE: July 20, 2006                                   /S/ PETER B. AXELROD
                                                           PETER B. AXELROD
 7                                                         LAUREL BEELER
                                                           Assistant U.S. Attorneys
 8

 9
     DATE: July 20, 2006                                   /S/ ALAN DRESSLER
10                                                         Alan Dressler
                                                           Attorney for Defendant
11                                                         Jimmy Gong Yan Lee

12

13                                                 ORDER

14          For good cause shown, and for the reasons stated above, the Court (a) vacates the July 26,

15   2006, hearing date for defendant Jimmy Gong Yang Lee based on the anticipated plea agreement,

16   (b)sets the matter for change-of-plea on August 23, 2006 at 10:00 a.m., and © excludes time under

17   the Speedy Trial Act, 18 U.S.C. § 3161, from July 26, 2006 to August 26, 2006. The Court finds that

18   the failure to grant the requested exclusion would deny defense counsel reasonable time necessary

19   for effective preparation taking into account the exercise of due diligence. Further, the Court finds

20   the exclusion warranted on complexity grounds, under 18 U.S.C. § 3161(h)(8)(B)(ii). Thus, the Court

21   finds the ends of justice served by granting the requested exclusion outweigh the best interest of the

22   public and the defendant in a speedy trial and in prompt disposition of criminal cases. The Court

23   therefore concludes that this exclusion of time should be made under 18 U.S.C. §3161(h)(8)(A),
                                                                       ISTRIC
24   (h)(8)(B)(ii) and (h)(8)(B)(iv).                          T  ES D       TC
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25           IT IS SO ORDERED.
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27   DATED: July 20, 2006
                                                   CHARLES R. BREYERs R. Breyer
                                                        NO




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28                                                               udge Ch Judge
                                                   United StatesJDistrict
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